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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


  STEPHEN J. BLEISTINE,

                   Plaintiff,                    Civil Action
                                             No. 11-2138 (JBS/KMW)
       v.

  DIOCESE OF TRENTON, et al,                         OPINION

                   Defendants.


 APPEARANCES:

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      High School

 SIMANDLE, Chief Judge:

 I. INTRODUCTION

      Plaintiff Stephen Bleistine brought this action against

 Defendants Holy Cross High School and Diocese of Trenton alleging

 that they terminated him unlawfully because of his age, in


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 violation of the Age Discrimination in Employment Act (“ADEA”)

 and the New Jersey Law Against Discrimination (“NJLAD”). This

 action comes before the Court on Defendants’ Motion for Summary

 Judgment. [Docket Item 14.] Defendants’ motion will be granted

 because Plaintiff has failed to show that there is a genuine,

 material, factual dispute regarding the cause for his

 termination.

 II. BACKGROUND

      This section provides an overview of the facts, the Motion

 for Summary Judgment, and the subsequent briefing.

      A. Factual Background

      In June of 2007, Plaintiff Stephen Bleistine retired from

 the public school system at age 62.1 (Def. Statement of

 Undisputed Facts (“Def. SOF”) ¶ 6.) In the summer of 2007, he saw

 a newspaper ad for positions at Defendant Holy Cross High School.

 (Def. SOF ¶ 8.) The two advertised positions were Associate

 Principal for Curriculum and Development and Associate Principal

 for Academic Intervention. (Def. SOF ¶ 8.) Plaintiff only applied

 for the Associate Principal for Academic Intervention position.

 (Def. SOF ¶ 9.)

      Holy Cross’ Principal, Dennis Guida, oversees the day-to-day

 operations at Holy Cross and makes personnel decisions, including

 hiring and firing decisions. (Pl. Opp’n Ex. F, Guida Dep. 16:2-


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           Plaintiff’s date of birth is June 3, 1945. (Compl. ¶ 4.)

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 8.) Guida hired Plaintiff for the Academic Intervention position

 under a contract for the 2007-2008 school year. (Def. SOF ¶ 9.)

 Plaintiff’s greatest asset in the hiring process was his ability

 to work with the Student Administrative Systems Information

 (“SASI”) program, which includes software for scheduling, grade

 reporting, and student transcripts, because Holy Cross was

 switching its scheduling format. (Def. SOF ¶ 13, 17; Bleistine

 Dep. 27:22-25.)

      During the scheduling process, guidance counselors met with

 students to develop schedules. (Def. SOF ¶ 19.) The counselors

 input this information, along with teachers’ availability, into

 the SASI program. (Def. SOF ¶ 19.) Then Plaintiff created a

 master schedule. (Def. SOF ¶ 19.)

      Plaintiff was also responsible for supervising the Dean of

 Students and handling student discipline. (Def. SOF ¶ 20.)

 Principal Guida and Plaintiff had philosophical differences

 regarding student discipline; Plaintiff preferred to strictly

 enforce the student code and often recommended expulsion, whereas

 Guida preferred to work with students to teach them proper

 behavior. (Def. SOF ¶¶ 22-24.) Plaintiff claimed that Guida

 called him an “old antiquated thinker” in the context of a

 dispute regarding strict enforcement of the dress code. (Def. SOF

 ¶ 26.) He claimed that this conversation occurred on April 20,

 2009, approximately 70 days before his termination. (Pl. SOF ¶


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 3.) Guida disputed Plaintiff’s account and claimed that he used

 the term “antiquated public school thinking” to describe a job

 applicant whom Plaintiff recommended. (Def. SOF ¶ 27.)

         The “lion’s share” of Holy Cross’ funding comes from tuition

 and student fees. (Def. SOF ¶ 32.) In 2009, enrollment dropped

 from 759 students for the 2008-2009 school year to 685. (Def. SOF

 ¶ 35.) In March of 2009, the projected enrollment was 745

 students, and Principal Guida notified six teachers that their

 contracts would not be renewed. (Def. SOF ¶ 37.) In May of 2009,

 the projected enrollment dropped to 685, and Principal Guida

 informed three more staff members, including Plaintiff, that

 their contracts would not be renewed. The following chart

 summarizes the terminations that occurred in 2009:


  NAME                 POSITION               AGE    DATE OF TERMINATION
  Dennis Daly          Teacher                26     April 30, 2009
  Richard McCormick    Teacher                36     April 30, 2009
  Jennifer McNally     Teacher                32     April 30, 2009
  Mellisa Minuto       Teacher                25     April 30, 2009
  Patricia Sacks       Teacher                57     April 30, 2009
  Marie Boljen         Teacher                53     April 30, 2009
  Stephen Bleistine    Associate              64     June 30, 2009
  (Plaintiff)          Principal
  Ron Green            Director of            50     June 30, 2009
                       Technology
  Kevin McKenzie       Administrative         27     June 30, 2009
                       Assistant


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 (Def. SOF ¶¶ 37, 39.)

      Plaintiff was one of three Associate Principals at Holy

 Cross when he was terminated. The other two Associate Principals

 were Michael Fynan (age 56 at the time of the reduction in force)

 and Marie Germano (age 33). (Def. SOF ¶ 42.) They each had

 specific responsibilities: Plaintiff handled scheduling; Fynan

 handled finances; and Germano handled curriculum and

 instructional development. (Def. SOF ¶ 40.) Germano was hired in

 the summer of 2007, after Plaintiff was hired. (Def. SOF ¶ 11.)

      Principal Guida explained that he decided not to renew

 Plaintiff’s contract because he wanted to move the scheduling

 process to the guidance department and, once he had done so,

 there was no longer a need for the associate principal for

 scheduling. (Def. SOF ¶ 40.) When Guida told Plaintiff that

 Plaintiff’s contract would not be renewed, he said the budget was

 insufficient to accommodate Plaintiff’s position. (Def. SOF ¶

 41.) Fynan retained his position as Associate Principal for

 Business Administration, and Germano retained her position as

 Associate Principal for Curriculum and Development. (Def. SOF ¶

 42.) Guida reassigned Plaintiff’s duties, and Jennifer Kelly, the

 Director of Guidance, was paid an additional $10,000 stipend to

 handle the SASI functions. (Def. SOF ¶ 45.)

      After his termination, Plaintiff filed a complaint alleging

 age discrimination with the New Jersey Division on Civil Rights


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 (“DCR”), which was dual filed with the Philadelphia Office of the

 Equal Employment Opportunity Commission (“EEOC”). According to

 the DCR investigator’s report, when the investigator asked

 Plaintiff whether he ever heard any derogatory, age-related

 comments from anyone at Holy Cross School, Plaintiff said “No.”

 (Def. SOF ¶ 29.) Plaintiff obtained a Right to Sue Notice from

 the EEOC in 2011 because the matter had been pending for more

 than six months; the DCR closed its files administratively. (Def.

 Mot. Summ. J. Ex. 10.)

      Plaintiff then filed a Complaint in this Court alleging that

 he was equally or more qualified than the other two associate

 principals, Germano and Fynan, and that his age was the

 motivating factor in Defendants’ decision to terminate his

 employment. He alleged two claims: violation of the Age

 Discrimination in Employment Act and violation of the New Jersey

 Law Against Discrimination.

      B. Defendants’ Motion for Summary Judgment

      Defendants filed     a Motion for Summary Judgment [Docket Item

 14], arguing that Plaintiff’s claims should be dismissed as a

 matter of law because there are no genuine issues of material

 fact. Defendants argue, essentially, that Plaintiff did not

 present direct evidence of discrimination and that he cannot show

 circumstantial evidence either. Defendants argue that the only

 evidence of alleged hostility toward older people that Plaintiff


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 offered was a stray comment from Principal Guida. Even if Guida

 did characterize Plaintiff as an “old antiquated thinker,” that

 comment “cannot be construed by any reasonable trier of fact as

 anything more than a stray remark which was not part of the

 decision making process and was unconnected in time or context to

 the non-renewal of Mr. Bleistine’s contract.” (Def. Mot. Summ. J.

 at 19.) Defendants note case law holding that similar stray

 comments are insufficient to survive summary judgment.

      Defendants argue that it is particularly difficult to show

 age discrimination because Plaintiff was first hired when he was

 already a member of the protected class. Defendants argue that

 Plaintiff ignores the diminished budget due to reduced enrollment

 and the eight other staff members who were also terminated, most

 of whom were not in the protected class. In a reduction in force

 case, Defendants argue that Plaintiff cannot simply point to “one

 comparator” (i.e. Germano) to show that similarly situated people

 were treated differently.

      In addition, Defendants argue that Plaintiff’s subjective

 beliefs about his qualifications are insufficient to create

 genuine issues of fact, particularly because the essence of

 reduction in force is that competent employees, who would retain

 their jobs in more prosperous times, are let go. The purpose of

 the age discrimination statutes, Defendants argue, is to prevent

 age discrimination, not to mandate that employers must choose


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 older workers over younger workers.

      And finally, Defendants argue that, even if the Court denies

 summary judgment, the Court should dismiss, with prejudice, all

 claims against Defendant Diocese of Trenton because the Diocese

 of Trenton was never Plaintiff’s employer. The age discrimination

 statutes only apply to employers; Defendants argue that the

 Diocese of Trenton and Holy Cross High School are separate

 corporations, that only Holy Cross employed Defendant, and that

 the Holy Cross principal had sole authority over hiring and

 firing decisions.

      C. Plaintiff’s Opposition

      Plaintiff filed Opposition [Docket Item 16] to Defendants’

 motion. In his Opposition brief, Plaintiff provided a “Statement

 of Contested Material,” which contains only three numbered

 paragraphs and which does respond to any paragraphs in

 Defendants’ “Statement of Undisputed Material Facts.” Plaintiff’s

 statement includes the following facts: First, Plaintiff states

 that “[t]he most important fact to be determined by the jury, and

 the reason summary judgment is inappropriate, is whether the

 motivation of the defendants in failing to renew the plaintiff’s

 employment contract was his age.” (Pl. SOF ¶ 1.) Second,

 Plaintiff states that “[t]he positions held by the plaintiff and

 the other two associate principals were substantially similar

 positions and were not distinct.” (Pl. SOF ¶ 2.) The third


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 statement is that “[t]he defendants’ employee and decision-maker,

 Dennis Guida, made a comment that the plaintiff was ‘old’ and

 that his thinking was ‘antiquated’ on or about April 20, 2009,

 approximately 70 days before he was advised of the defendants’

 decision to not renew his contract.” (Pl. SOF ¶ 3.)

      Plaintiff argued that summary judgment was inappropriate

 because he had established a prima facie case of age-based

 discrimination and that there was a genuine issue of material

 fact from which a reasonable jury could conclude that his age was

 the cause of his termination. Plaintiff argues that he, Germano,

 and Fynan were all similarly situated in terms of their job

 qualifications, job categories, and a common core of identical

 job duties and functions, such as supervising teachers. Plaintiff

 also argued that the Court need not analyze his prima facie case

 because the Court must only resolve one question, i.e. whether

 Plaintiff has produced sufficient evidence for a reasonable jury

 to conclude that the employer’s asserted nondiscriminatory reason

 was pretextual or that there was intentional discrimination.

      Plaintiff argues that Fynan and Germano are respectively

 eight and thirty-one years younger and that those age differences

 are sufficient to establish discrimination. Plaintiff argues that

 the other eight employees who were terminated do not impact the

 discrimination evidence because Plaintiff “was an associate

 principal, and as such, an administrator while the reamining


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 eight employees affected by the reduction in force were not

 members of the administration but were rather teachers or office

 staff.” (Pl. Opp’n at 7.) Plaintiff argues that “the finder of

 fact must compare ‘apples to apples,’ i.e. administrators to

 administrators, rather than teachers or staff to administrators.”

 (Pl. Opp’n at 7.)

       In addition, Plaintiff argues that “defendant has offered

 little explanation as to why or how this decision was made other

 than to cite overall financial concerns requiring a reduction in

 force.” (Pl. Opp’n at 7-8.) Plaintiff states, “[t]he only

 information provided by the school principal, Mr. Guida, was that

 once Holy Cross moved scheduling – one of Mr. Bleistine’s

 responsibilities – into the guidance department, there was no

 longer a need for his administrative position. However, there is

 no specific indication of why Mr. Bleistine was chosen over Mr.

 Fynan and Ms. Germano.” (Pl. Opp’n at 8.)

       Plaintiff argues that the lack of explanation regarding the

 reason for his termination is highlighted when comparing the

 associate principals’ credentials and experience because

 Plaintiff had higher qualifications and more expertise. In

 addition, Plaintiff argues that “[s]ignificant indirect evidence

 of proof that the plaintiff’s age was a factor in terminating him

 is that it would have been less expensive to keep him over Ms.

 Germano.” (Pl. Opp’n at 9.)


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       Essentially, Plaintiff argues that there is evidence to

 support his age discrimination claims, particularly when

 considering the evidence in his favor. He claims that he has

 established a prima facie case of discrimination and that there

 “exists a genuine issue of material fact upon which a reasonable

 jury could find that defendant’s proffered reason for the

 discharge is pretextual or that an invidious discriminatory

 reason was more likely than not a motivating or determinative

 cause. . . .” (Pl. Opp’n at 10.)

       Finally, Plaintiff asserts that the Diocese of Trenton is an

 appropriate party to the case and should not be dismissed.

       D. Defendants’ Reply

       Defendants submitted a Reply [Docket Item 21] to Plaintiff’s

 Opposition. Defendants challenged each element of Plaintiff’s

 Statement of Contested Facts. Defendants argued that Plaintiff’s

 first fact, which asserts that the jury must determine whether

 defendants’ motivation was age discrimination, is not a statement

 of fact with supporting evidence. Defendants challenged

 Plaintiff’s second fact, which is that all three associate

 principal positions were substantially similar and indistinct, by

 arguing that Plaintiff cited general requirements for associate

 principals, not the specific job descriptions. In addition,

 Defendants argued that Plaintiff’s extensive resume does not

 indicate experience in finance or curriculum and instructional


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 development, i.e. the areas handled by Fynan and Germano.

 Defendants’ challenged Plaintiff’s third fact, which is that

 Principal Guida said plaintiff was ‘old’ and his thinking was

 ‘antiquated’ on or about April 20, 2009, by arguing that fact was

 contradicted by Plaintiff’s admission to the EEOC/DCR

 investigator and by Plaintiff’s deposition testimony.

       Defendants emphasized that Guida had a legitimate, non-

 discriminatory reason, i.e. cutting staff to maintain a balanced

 budget, and that Plaintiff had offered “no evidence to refute

 Guida’s explanation other than his belief that age was the

 primary motivation.” (Def. Reply at 6.) Defendants also argued

 that Plaintiff had not made a prima facie case of discrimination

 because (1) he did not show he was competent to serve in the

 positions that remained and (2) the terminated employees

 reflected disparate ages. Defendants claimed that Plaintiff had

 not shown that Guida’s proffered reasons were implausible or that

 invidious discrimination was the determining factor.



 III. STANDARD OF REVIEW

       Summary judgment is appropriate “if the movant shows that

 there is no genuine dispute as to any material fact and the

 movant is entitled to judgment as a matter of law.” Fed. R. Civ.

 P. 56(a). A dispute is “genuine” if “the evidence is such that a

 reasonable jury could return a verdict for the non-moving party.”


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 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A fact

 is “material” only if it might affect the outcome of the suit

 under the applicable rule of law. Id. Disputes over irrelevant or

 unnecessary facts will not preclude a grant of summary judgment.

 Id. The district court must “view the facts and draw reasonable

 inferences in the light most favorable to the party opposing the

 summary judgment motion.” Scott v. Harris, 550 U.S. 372, 378

 (2007).

       Once the moving party has supported its motion, “its

 opponent must do more than simply show that there is some

 metaphysical doubt as to material facts.” Matsushita Elec. Indus.

 Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). A summary

 judgment movant may meet its burden by showing that the opposing

 party is unable to meet its burden of proof at trial. Celotex

 Corp. v. Catrett, 477 U.S. 317, 325 (1986). Nonetheless,

 Defendants, as the moving parties on the motion, bear the initial

 responsibility of demonstrating the absence of a genuine issue of

 material fact. Id.



 IV. STATEMENT OF FACTS

       Before the Court can turn to its legal analysis, it must

 evaluate the Statements of Fact presented by the parties. The

 essence of summary judgment is a determination of whether there

 are genuine, material, facts in dispute. Local Civil Rule 56.1(a)


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 requires summary judgment movants to submit a statement of

 undisputed material facts, citing to affidavits and other

 documents submitted in support of the motion. The opponent of

 summary judgment shall furnish “a responsive statement of

 material facts, addressing each paragraph of the movant’s

 statement, indicating agreement or disagreement. . . .” L. Civ.

 R. 56.1(a). “[A]ny material fact not disputed shall be deemed

 undisputed for purposes of the summary judgment motion.” L. Civ.

 R. 56.1(a). The purpose behind this requirement is “to narrow the

 issues before the District Court, to assist in identifying

 whether material facts are, or are not, in dispute in a summary

 judgment motion.” Lite, N.J. Federal Practice Rules, Comment 2.a.

 to L. Civ. R. 56.1, at 287 (2013 ed.).

       Defendants’ Motion for Summary Judgment contains a

 “Statement of Undisputed Material Facts” which contains 45

 numbered paragraphs and cites exhibits, such as deposition

 transcripts. In his Opposition brief, Plaintiff provided a

 “Statement of Contested Material,” which contains only three

 numbered paragraphs and which does respond to any paragraphs in

 Defendants’ statement. Under L. Civ. R. 56.1, “facts submitted in

 the statement of material facts which remain uncontested by the

 opposing party are deemed admitted.” Hill v. Algor, 85 F. Supp.

 2d 391, 408 n.26 (D.N.J. 2000). See also Booker v. Twp. of

 Willingboro, CIV. 10-4886 JBS/JS, 2012 WL 2397929 *1 n.1 (D.N.J.


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 June 22, 2012) (where plaintiff only responded to four of 87

 facts asserted by defendants, the other 83 facts were deemed

 undisputed).

       Plaintiff’s statement includes the following facts: First,

 Plaintiff states that “[t]he most important fact to be determined

 by the jury, and the reason summary judgment is inappropriate, is

 whether the motivation of the defendants in failing to renew the

 plaintiff’s employment contract was his age.” (Pl. SOF ¶ 1.) This

 statement is not a fact; it is a hypothesis that Plaintiff would

 like a jury to test. Plaintiff has not cited any documentary

 support for this statement, in contravention of Local Civil Rule

 56.1(a). The Court must make factual inferences in the

 Plaintiff’s favor, but “it is insufficient for the party opposing

 a motion for summary judgment to rely upon suppositions,

 conjecture or to assert that an issue may arise at a future

 date.” U. S. ex rel. Sacks v. Philadelphia Health Mgmt. Corp.,

 519 F. Supp. 818, 823 (E.D. Pa. 1981). The Court will therefore

 disregard the Plaintiff’s first fact.

       Second, Plaintiff states that “[t]he positions held by the

 plaintiff and the other two associate principals were

 substantially similar positions and were not distinct.” (Pl. SOF

 ¶ 2.) As support for this statement, Plaintiff directs the Court

 to Exhibits C and D. Exhibit C is a list entitled “Qualifications

 of Vice-Principal,” and it explains basic requirements, such as


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 New Jersey Teacher Certification and competency in management,

 interpersonal, and communication skills, for vice-

 principal/assistant principal positions. Exhibit D, the second

 exhibit that Plaintiff cites in support of paragraph 2, is the

 cover page and page 15 of the Holy Cross High School Faculty

 Manual. Page 15 lists the leadership team, including associate

 principals Michael Fynan, Stephen Bleistine, and Marie Germano,

 and the leadership support team and Department

 Chairpersons/Academic Council. This list provides no explanation

 of duties or responsibilities.

       The Court shall accept Plaintiff’s assertion that the

 associate principal positions were substantially similar because

 they shared many similar responsibilities, but Plaintiff’s own

 deposition testimony contradicts his assertion that the jobs were

 indistinct. For example, when discussing the roles of the Holy

 Cross Associate Principals, Plaintiff stated, “the central focus

 of our job was to help Dennis [Guida] in running the school. And

 then we all had like a different area that we broke down – broke

 down our categories into, and mine was student discipline and it

 was student services, scheduling.” (Pl. Opp’n Ex. B, Bleistine

 Dep. 38:1-6.) In addition, in his deposition, Plaintiff admitted

 that, when he applied for the position at Holy Cross High School,

 two positions were advertised, assistant principal for curriculum

 and development and associate assistant principal for academic


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 intervention. (Bleistine Dep. 24:2-6.) Plaintiff only applied for

 the academic intervention position. (Bleistine Dep. 24:9-17.)

 Plaintiff’s deposition testimony, the different job titles, and

 Plaintiff’s decision to apply for only one position belie his

 assertion that the two positions were indistinct. For purposes of

 evaluating Defendants’ summary judgment motion, the Court shall

 therefore assume that the three associate principal positions

 shared many responsibilities, but each had its own “different

 area,” as Plaintiff himself testified.

       The third and final fact in Plaintiff’s Statement of

 Contested Material Facts is “[t]he defendants’ employee and

 decision-maker, Dennis Guida, made a comment that the plaintiff

 was ‘old’ and that his thinking was ‘antiquated’ on or about

 April 20, 2009, approximately 70 days before he was advised of

 the defendants’ decision to not renew his contract.” (Pl.

 Statement of Contested Material Facts, ¶ 3.) Plaintiff’s

 deposition testimony was that the comment was “old antiquated

 public school thinker.” (Bleistine Dep. 58:16-17.) Defendants

 dispute the timing and context of this statement, but the Court

 must view evidence in favor of the nonmoving party and shall

 disregard Defendants’ version of events.

       Other than the three statements discussed above, the Court

 has deemed undisputed the facts in Defendants’ Statement of

 Facts.


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 V. ADEA CLAIM

       This section provides an overview of ADEA law, Plaintiff’s

 prima facie case, Holy Cross’ asserted reasons for terminating

 Plaintiff, and Plaintiff’s failure to show that those reasons

 mask invidious discrimination.

       A. ADEA Legal Standard

       The ADEA provides, in relevant part, that “[i]t shall be

 unlawful for an employer ... to fail or refuse to hire or to

 discharge any individual or otherwise discriminate against any

 individual with respect to his compensation, terms, conditions,

 or privileges of employment, because of such individual's age.”

 29 U.S.C. § 623(a)(1). The meaning of the ADEA's requirement that

 an employer took adverse action “because of” age “is that age was

 the reason that the employer decided to act.” Gross v. FBL Fin.

 Services, Inc., 557 U.S. 167, 176 (2009). In other words, “a

 plaintiff must prove that age was the ‘but-for’ cause of the

 employer's adverse decision.” Id. at 176.

       The ADEA’s prohibition against discrimination is “limited to

 individuals who are at least 40 years of age,” § 631(a). This

 language “does not ban discrimination against employees because

 they are aged 40 or older; it bans discrimination against

 employees because of their age, but limits the protected class to

 those who are 40 or older.” O'Connor v. Consolidated Coin

 Caterers Corp., 517 U.S. 308, 312 (1996).


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       A plaintiff may demonstrate age discrimination under the

 ADEA by either direct or indirect evidence. Torre v. Casio, Inc.,

 42 F.3d 825, 829 (3d Cir. 1994). Direct evidence of

 discrimination “would be evidence which, if believed, would prove

 the existence of the fact in issue without inference or

 presumption.” Id. at 829 (emphasis in original).2 However,

 evidence is not direct “where the trier of fact must infer the

 discrimination on the basis of age from an employer's remarks.”

 Id. at 829 (emphasis in original). A plaintiff seeking to prove

 his case through direct evidence, confronts a “high hurdle”

 because    “the evidence must demonstrate that the decision makers

 placed substantial negative reliance on an illegitimate criterion

 in reaching their decision.” Anderson v. Consol. Rail Corp., 297

 F.3d 242, 248 (3d Cir. 2002).

       In order to establish a case through indirect evidence, a

 plaintiff must establish a prima facie case showing that he: “(1)


       2
      The Third Circuit, in Torre, explained that an example of
 evidence that would be considered “direct” is found in Trans
 World Airlines, Inc. v. Thurston, 469 U.S. 111 (1985). In TWA,
 former airline captains showed that an airline's policy allowed
 those disqualified from continuing as a captain for any reason
 other than age to transfer automatically to the position of
 flight engineer, but required age-disqualified captains to bid
 for engineer vacancies or retire if no vacancies occurred prior
 to their 60th birthdays. Id. at 121. This scheme “directly
 demonstrated TWA's disparate treatment on the basis of age.”
 Torre at 829 n.2.




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 was a member of a protected class (i.e. he was forty years of age

 or older); (2) was qualified for the position at issue; (3)

 suffered an adverse employment action; and (4) was replaced by a

 sufficiently younger person, raising an inference of age

 discrimination.” Anderson at 249.

       This case involves a reduction-in-force, i.e. a situation in

 which Plaintiff was not replaced by another employee, but instead

 was terminated in the context of a school-wide reduction in

 staffing. The Third Circuit has recognized that “the fourth

 element is inadequate in a reduction in force context” and, in

 such a case, “the fourth element is satisfied by showing that the

 employer retained a ‘sufficiently younger’ employee.” Showalter

 v. Univ. of Pittsburgh Med. Ctr., 190 F.3d 231, 235 (3d Cir.

 1999). In addition, “to present a prima facie case raising an

 inference of age discrimination in a reduction in force

 situation, the plaintiff must show, as part of the fourth

 element, that the employer retained someone similarly situated to

 him who was sufficiently younger.” Anderson at 250. The Anderson

 court explained that the “similarly situated” requirement is

 necessary because the ADEA “is not a bumping statute;” in other

 words, the ADEA does not guarantee that younger employees will be

 bumped to ensure that protected employees retain their positions.

 Anderson at 250.

       Once the plaintiff has established a prima facie case, the


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 “burden of production shifts to the defendant to articulate some

 legitimate, nondiscriminatory reason for the employee's

 rejection.” Fuentes v. Perskie, 32 F.3d 759, 763 (3d Cir. 1994).

 The employer can satisfy this burden “by introducing evidence

 which, taken as true, would permit the conclusion that there was

 a nondiscriminatory reason for the unfavorable employment

 decision.” Id. at 763. Once the employer articulates a legitimate

 reason for the unfavorable employment decision, the burden of

 production moves to the plaintiff, who must show that the

 employer's explanation is pretextual. Id. at 763.           To defeat

 summary judgment when the defendant answers the plaintiff's prima

 facie case with legitimate, non-discriminatory reasons for its

 action, “the plaintiff must point to some evidence, direct or

 circumstantial, from which a factfinder could reasonably either

 (1) disbelieve the employer's articulated legitimate reasons; or

 (2) believe that an invidious discriminatory reason was more

 likely than not a motivating or determinative cause of the

 employer's action.” Id. at 764. Pretext “is not demonstrated by

 showing simply that the employer was mistaken. . . . Instead, the

 record is examined for evidence of inconsistencies or anomalies

 that could support an inference that the employer did not act for

 its stated reasons.” Sempier v. Johnson & Higgins, 45 F.3d 724,

 731 (3d Cir. 1995).




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       B. Plaintiff Has Established a Prima Facie Case

       Plaintiff has not presented evidence of direct

 discrimination; this case requires the indirect-evidence

 analysis. Plaintiff has satisfied the four necessary elements for

 establishing a prima facie case: First, Plaintiff was 64 years

 old at the time of termination and was a member of the protected

 class. Second, Plaintiff has produced substantial evidence

 showing that he has extensive experience in school administration

 and that he was particularly qualified to use the SASI program.

 Third, Plaintiff suffered an adverse employment action because

 his employment contract was not renewed.

       And fourth, Holy Cross retained sufficiently younger

 employees. The associate principals who remained were Germano

 (age 33) and Fynan (age 56). When compared to Plaintiff (age 64),

 the average age difference is 19.5 years. In establishing the

 fourth element, there is no particular age difference that must

 be shown: “a five year difference can be sufficient, . . . but .

 . . a one year difference cannot.” Sempier v. Johnson & Higgins,

 45 F.3d 724, 729 (3d Cir. 1995). Here, the 19.5 year average age

 difference is sufficient to establish the fourth element. See,

 e.g., Barber v. CSX Distrib. Servs., 68 F.3d 694, 699 (3d Cir.

 1995) (eight year difference between plaintiff and comparator

 could support a finding that the comparator was “sufficiently

 younger”); Sempier v. Johnson & Higgins, 45 F.3d 724, 729-30 (3d


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 Cir.1995) (the combined difference in age between plaintiff and

 four-years-younger and ten-years-younger coworkers was sufficient

 to satisfy the fourth prong of a prima facie case).

       C. Plaintiff Cannot Show Pretext

       In response to Plaintiff’s prima facie case, Holy Cross has

 asserted several reasons for the termination. First, Holy Cross

 has emphasized that it had to balance its budget because

 enrollment dropped from 759 students to 685 and the lion’s share

 of its funding comes from tuition, which is undisputed. Second,

 Principal Guida explained that he wanted to move the scheduling

 responsibility to the guidance department, which is also

 undisputed. Third, the associate principals whom Holy Cross

 retained, Germano and Fynan, handle instructional development,

 curriculum, and finance responsibilities, which were outside of

 Plaintiff’s expertise.

       Plaintiff claims invidious discrimination existed, but his

 arguments do not cast doubt on Holy Cross’ asserted reasons. To

 create a factual dispute as to pretext, Plaintiff “must not only

 introduce evidence from which a reasonable person could infer

 that he is qualified; he also must introduce evidence that casts

 doubt on his employer's contention that there was a legitimate

 business justification for letting him go.” Healy v. New York

 Life Ins. Co., 860 F.2d 1209, 1220 (3d Cir. 1988).

       Plaintiff has not challenged the validity of any of Holy


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 Cross’ reasons. He has not disputed that Holy Cross had to

 balance its budget because of the drop in enrollment; that he

 lacks expertise in instructional development, curriculum, and

 finance; that Guida wanted to move scheduling to the guidance

 department; or that Guida did, in fact, make that shift.

 Plaintiff admitted that, when he first applied to Holy Cross, the

 associate principal position that handles curriculum and

 instructional development was available, but he did not apply for

 it. (Bleistine Dep. 24:8-17.) That is the position that Germano

 obtained and retained after Plaintiff’s termination.

       Plaintiff argues that he had extensive experience and that

 he was skilled in the SASI scheduling process. But it is

 undisputed that Plaintiff was terminated as part of a reduction

 in force (or “RIF”). As the Third Circuit has noted, however,

 “the essence of a RIF is that competent employees who in more

 prosperous times would continue and flourish at a company may

 nevertheless have to be fired.” Healy v. New York Life Ins. Co.,

 860 F.2d 1209, 1220 (3d Cir. 1988). Plaintiff’s competence and

 expertise is insufficient to establish pretext given the reduced

 enrollment and subsequent reduction in force at Holy Cross.

       Plaintiff argues that Plaintiff, Germano, and Fynan “were

 similarly situated in terms of job qualifications and job

 category.” (Pl. Opp’n at 3.) The three associate principals were

 similarly situated, and their jobs carried many similar


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 responsibilities, such as supervising teachers. But differences

 also existed between the daily functions of the respective

 associate principal positions. Germano and Fynan manage finance,

 curriculum, and instructional development, areas that Plaintiff

 did not handle and has not asserted that he can handle.

       Plaintiff also argues that Holy Cross’ reason regarding

 declining enrollment and budgetary problems masks invidious

 discrimination because Defendants fail to acknowledge that

 “Bleistine was an associate principal, and as such, an

 administrator, while the remaining employees affected by the

 reduction in force were not members of the administration but

 were rather teachers or office staff.” (Pl. Opp’n at 7.)

 Plaintiff insists that “the finder of fact must compare ‘apples

 to apples,’ i.e. administrators to administrators.” (Pl. Opp’n at

 7.) The Court finds no indication whatsoever of pretext simply

 because Plaintiff was the only associate principal who was

 terminated. In fact, it seems logical that, if Holy Cross was

 losing six teachers and two administration employees, it would

 need fewer associate principals to manage the remaining

 employees.

       Plaintiff argues that Holy Cross has “offered little

 explanation as to why or how this [termination] decision was

 made. . . .” (Pl. Opp’n at 7.) Plaintiff argues that the only

 information provided by Holy Cross was that, once scheduling was


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 moved to the guidance department, there was no longer a need for

 his administrative position. Plaintiff states, “there is no

 specific indication of why Mr. Bleistine was chosen over Mr.

 Fynan and Ms. Germano.” (Pl. Opp’n at 8.) Holy Cross has

 indicated why Plaintiff was chosen: Plaintiff handled scheduling,

 and that function moved. Plaintiff has emphasized that he had

 extensive training in the SASI program and that Germano and Fynan

 had not received SASI training. But no one has alleged that

 Germano and Fynan handled SASI scheduling after Plaintiff left.

       Plaintiff also argues that “[s]ignificant indirect evidence

 of proof that the plaintiff’s age was a factor in terminating him

 is that it would have been less expensive to keep him over Ms.

 Germano.” (Pl. Opp’n at 9.) Even if retaining Germano was more

 expensive than retaining Plaintiff would have been, that fact

 does not show pretext. Germano performed different functions that

 Plaintiff could not have performed, while Plaintiff’s scheduling

 responsibilities were simply added as duties for the guidance

 department at a substantial monetary savings. Age discrimination

 laws “should not be used to impede an employer's effort to

 organize its business as it deems fit so long as the employer in

 doing so does not violate employment age discrimination

 restrictions.” Hyland v. Am. Int'l Group, 360 F. App'x 365, 368

 (3d Cir. 2010); cf. Gray v. York Newspapers, Inc., 957 F.2d 1070,

 1083 (3d Cir. 1992) (“[T]he ADEA is a discrimination statute and


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 is not intended to handcuff the management and owners of

 businesses to the status quo.”). Aside from Germano’s

 compensation, Plaintiff also testified that he spoke to Jennifer

 Kelly, the woman who took over the scheduling responsibilities

 for a $10,000 stipend. Kelly allegedly told Plaintiff that the

 scheduling “was really an unbelievable amount of work” and that

 “I don’t think Dennis [Guida] has a clue about how much work this

 is. . . .” (Bleistine Dep. 81:15-17.) Plaintiff may believe that

 Guida’s assignment of the scheduling task was unwise and fiscally

 imprudent, but “[t]o discredit the employer's proffered reason, .

 . . the plaintiff cannot simply show that the employer's decision

 was wrong or mistaken, since the factual dispute at issue is

 whether discriminatory animus motivated the employer, not whether

 the employer is wise, shrewd, prudent, or competent.”           Fuentes v.

 Perskie, 32 F.3d 759, 765 (3d Cir. 1994). In any event, if Ms.

 Kelly is correct, Holy Cross is undercompensating her at $10,000

 for the additional scheduling work she must do, but this does not

 contradict Holy Cross’ proffered rationale for the RIF as

 motivated by cost savings. The Court may not dictate how Holy

 Cross structures and compensates its employees; the Court may

 only ensure that Holy Cross does not discriminate on the basis of

 age in making its management decisions.

       D. Guida’s Alleged Stray Remark Does Not Establish Pretext

       Plaintiff also argues that Guida called him an “old


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 antiquated public school thinker” 70 days before his termination

 and that this comment shows discriminatory animus.3

       The Court will assume, as Plaintiff argues, that a

 reasonable fact-finder could interpret this comment as a comment

 on Plaintiff’s age. The comment actually refers to Plaintiff’s

 thinking, not his age. Plaintiff has acknowledged that he and

 Guida disagreed over disciplinary issues, that Plaintiff thought

 Guida was too lax, and that Plaintiff would have expelled

 students whom Guida did not expel. For example, Plaintiff

 testified that he was frustrated because Guida did not expel two

 boys for reenacting a movie scene in which one boy defecated on

 the other. He stated, “I thought those kids should have been

 expelled. I could not see any reason to maintain those kids at

 Holy Cross High School, but Dennis’ [Guida’s] choice was to keep

 them. . . .” (Bleistine Dep. 63:14-17.) Plaintiff claims that

 Guida called him an “old antiquated public school thinker” after

 another disciplinary dispute in which Plaintiff expressed

 frustration “with the fact that these kids were walking around



       3
      Holy Cross claims that Guida referenced a job applicant,
 not plaintiff, in making the comment and that the timing was
 further removed from the date of termination. In addition, Holy
 Cross notes that, according to the DCR investigator’s report,
 when the investigator asked Plaintiff whether he ever heard any
 derogatory, age-related comments from anyone at Holy Cross
 School, Plaintiff said “No.” (Def. SOF ¶ 29.) At this procedural
 posture, the Court will presume that Plaintiff’s version is
 correct since all evidence must be viewed in favor of the non-
 moving party.

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 with their shirts out and . . . not being dressed very properly.

 . . .” (Bleistine Dep. 59:25-60:2.) Essentially, it seems that

 Guida’s alleged comment was directed at Plaintiff’s thinking

 regarding strict discipline, as opposed to his age.

       But the alleged comment contains the word “old” and all

 evidence must be construed in Plaintiff’s favor. The Court will

 therefore assume that the comment was a reference to Plaintiff’s

 age. In Hyland v. Am. Int'l Group, 360 F. App'x 365, 367 (3d Cir.

 2010), the Third Circuit analyzed a case in which the plaintiff’s

 “direct supervisor and the prime mover in the reorganization that

 resulted in [plaintiff]'s termination referred to [plaintiff] as

 the ‘old man’ of the operation.” The Third Circuit held that

 “this stray remark made ten months before [plaintiff]'s

 termination could not support an inference of age discrimination.

 . . .” Id. at 367. The Hyland court explained:


       We do not think that a single remark that might reflect
       the declarant's recognition of an employee's age in a
       context unrelated to the employee's termination is
       sufficient evidence to support a prima facie case of age
       discrimination based on direct evidence at the time that
       the employer later terminates the employee. After all,
       whether or not a supervisor makes reference to an
       employee's age it is likely that he will have some
       concept of it.


 Id. at 367-68 (3d Cir. 2010). The Hyland court emphasized that

 the context of the “old man” comment was unrelated to the

 plaintiff’s termination. In this case, the context in which


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 Plaintiff claims Guida made the remark, i.e. after a policy

 disagreement regarding students’ failure to tuck in their shirts,

 was also unrelated to Guida’s asserted reasons for the

 termination. In addition, all parties have agreed that Plaintiff

 and Guida had philosophical differences regarding discipline, and

 that Plaintiff’s approach was seen as “old school” in the sense

 of being strict or uncompromising. The alleged comment is not

 evidence of inconsistencies or anomalies that could support an

 inference that the employer did not act for its stated reasons.

 See Sempier v. Johnson & Higgins, 45 F.3d 724, 731 (3d Cir.

 1995).

       The Hyland comment occurred 10 months before the

 termination, whereas Plaintiff claims that the comment in this

 case occurred only 70 days before the termination. But other

 significant events occurred in between the alleged comment and

 the termination. For the 2008-2009 school year, enrollment was

 759 students. In March of 2009, Guida thought the next year’s

 enrollment would drop to 745 students, and he terminated six

 teachers. Plaintiff claims that Guida made the “old antiquated

 thinker” comment on April 20, 2009. In May of 2009, Guida learned

 that the enrollment would drop to 685 students, not 745. The next

 month, he terminated three more people, including Plaintiff.

 Given the distinct context, the undisputed disciplinary

 differences between Plaintiff and Guida, and the timeline in


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 terms of Guida’s learning of the dropping enrollment numbers, the

 Court holds, as a matter of law, that this alleged remark does

 not show discriminatory animus.

       The Hyland court concluded, “it would be unfortunate if the

 courts forced the adoption of an employment culture that required

 everyone . . . to be careful so that every remark made every day

 passes the employment equivalent of being politically correct

 lest it be used later against the employer in litigation.” Id. at

 368. Guida’s alleged comment may have been impolitic, but it does

 not suggest that Guida’s stated reasons for terminating Plaintiff

 were pretextual.

       Plaintiff cites Steward v. Sears Roebuck & Co., 231 F. App'x

 201, 211 (3d Cir. 2007) to argue that Guida’s remark does show

 discrimination. The Steward court stated that “remarks made by

 supervisors directly involved in the termination decision at

 issue can be evidence of their discriminatory animus, even if the

 remarks were not made in connection with the termination

 decision.” Steward v. Sears Roebuck & Co., 231 F. App'x 201, 211

 (3d Cir. 2007).4 In Steward, the comment at issue was “Hell, you


       4
      The Third Circuit has held that “[s]tray remarks by non-
 decisionmakers or by decisionmakers unrelated to the decision
 process are rarely given great weight, particularly if they were
 made temporally remote from the date of decision.” Ezold v. Wolf,
 Block, Schorr & Solis-Cohen, 983 F.2d 509, 545 (3d Cir. 1992)
 (cited with approval in Fuentes v. Perskie, 32 F.3d 759, 767 (3d
 Cir. 1994)). In Ezold, the stray remark occurred five years
 before the adverse employment decision and was made by an
 authority figure who did not participate in the decision-making

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 are old enough, you have been around long enough, you should

 handle this.” Id. at 211. The Steward court held that a

 reasonable fact-finder could infer that the remark reflected age

 bias and that it certainly reflected the employer’s “awareness”

 of the plaintiff’s age. Steward at 211.

       The Steward case is easily distinguishable from Plaintiff’s

 case. The Steward court noted that the plaintiff presented this

 remark “[i]n addition to presenting evidence to cast doubt on the

 three specific reasons given by [the employer] for his

 termination.” Id. at 211. Here, Plaintiff has not presented any

 evidence to cast doubt on Holy Cross’ specific reasons for the

 termination. In addition, the Steward employer made that comment

 to plaintiff Steward after Steward voiced concerns about the

 additional responsibilities that were given to him. This context

 is relevant because Steward’s employer claimed that Steward

 failed to timely complete tasks, but Steward showed pretext with

 evidence that the employer’s deadlines were unreasonable.

       In addition, the Steward plaintiff had begun working for his

 employer in 1979 and was terminated in 2001, approximately seven

 months after he came under the supervision of a new manager. His

 previous managers had all given him positive evaluations, and the

 new manager was the person who made the “Hell, you are old

 enough” comment. Here, Principal Guida hired Plaintiff Bleistine


 process.

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 at the age of 62 and terminated him two years later. Unlike the

 Steward case, here, there was no shift in management personnel

 from the person who hired Plaintiff to the person who terminated

 him. The Eighth Circuit has held that “[i]t is simply incredible,

 in light of the weakness of plaintiff's evidence otherwise, that

 the company officials who hired him at age fifty-one had suddenly

 developed an aversion to older people less than two years later.”

 Lowe v. J.B. Hunt Transp., Inc., 963 F.2d 173, 175 (8th Cir.

 1992). In this case, Guida hired Plaintiff, and the alleged

 comment does not indicate that, two years later, Guida “developed

 a sudden aversion to older people.”

       Plaintiff has not pointed to evidence from which a

 factfinder could reasonably either “(1) disbelieve the employer's

 articulated legitimate reasons; or (2) believe that an invidious

 discriminatory reason was more likely than not a motivating or

 determinative cause of the employer's action.” See Fuentes at

 764. Considering all of his arguments together, the Plaintiff has

 not shown that Holy Cross’ reasons are worthy of disbelief or

 that invidious discrimination was likely. Defendant’s Motion for

 Summary Judgment on Plaintiff’s ADEA claim is granted.



 VI. NJLAD CLAIM

       The New Jersey Law Against Discrimination (“NJLAD”)

 prohibits, inter alia, discrimination on the basis of age. N.J.


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 Stat. Ann. §§ 10:5-4, 10:5-12. New Jersey has adopted the burden-

 shifting analysis for pretext cases under the NJLAD, thus the

 Court's ADEA discussion supra applies equally to Plaintiff's

 NJLAD claims. Geltzer v. Virtua W. Jersey Health Sys., 804 F.

 Supp. 2d 241, 250 (D.N.J. 2011); see also         Martinez v. Nat'l

 Broad. Co., 877 F. Supp. 219, 227 (D.N.J. 1994) (“The burdens of

 proof and production for discrimination claims arising under

 Title VII, the ADEA, and the LAD are the same.”) and Bergen

 Commercial Bank v. Sisler, 157 N.J. 188, 200, 723 A.2d 944, 949

 (1999) (The New Jersey Supreme Court, “in outlining approaches

 and infusing discrimination claims under the LAD with substantive

 content typically has looked to federal cases arising under

 analogous provisions of . . . the Age Discrimination in

 Employment Act”). Because Plaintiff’s ADEA claim will not survive

 summary judgment, Plaintiff’s NJLAD claim will also be dismissed.



 V. CONCLUSION

       Defendants’ Motion for Summary Judgment is granted.

 Plaintiff’s ADEA and NJLAD claims will be dismissed, and the case

 will be closed. Because the Court is granting Defendants’ motion

 and dismissing Plaintiff’s claims, the Court need not analyze




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 Defendants’ argument that Defendant Diocese of Trenton should be

 dismissed because it was not Plaintiff’s employer.



 November 14, 2012                          s/ Jerome B. Simandle
 Date                                      JEROME B. SIMANDLE
                                           Chief U.S. District Judge




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